       Case 2:16-cv-00304-TS-EJF Document 273 Filed 06/14/19 Page 1 of 8




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                       IN THE UNITED STATES DISTRICT COURT

                        DISTRICT OF UTAH, CENTRAL DIVISION


 UNITED STATES OF AMERICA, ex rel.,
 GERALD POLUKOFF, M.D.,
                                                   DEFENDANTS SHERMAN SORENSEN
        Plaintiff/Relator,                          AND SORENSEN CARDIOVASCULAR
                                                        GROUP’S OPPOSITION TO
 v.                                                RELATOR/PLAINTIFF’S MOTION FOR
                                                           LEAVE TO AMEND
 ST. MARK’S HOSPITAL,                              RELATOR/PLAINTIFF’S COMPLAINT
 INTERMOUNTAIN HEALTHCARE, INC.,
 INTERMOUNTAIN MEDICAL CENTER,                          Case No. 2:16-cv-00304-TS-EJF
 SHERMAN SORENSEN, M.D., SORENSEN
 CARDIOVASCULAR GROUP,                                         Judge Ted Stewart

        Defendants.                                     Magistrate Judge Evelyn J. Furse


       Defendants, Sherman Sorensen, M.D. and Sorensen Cardiovascular Group (“Defendants”

or “Sorensen Defendants”), by and through their undersigned counsel, respectfully submit their

Opposition to Relator/Plaintiff’s Motion for Leave to Amend Relator/Plaintiff’s Complaint.




                                               1
       Case 2:16-cv-00304-TS-EJF Document 273 Filed 06/14/19 Page 2 of 8




                                       INTRODUCTION

       Relator’s Motion for Leave to Amend Relator/Plaintiff’s Complaint (“Motion”) should be

denied. Relator contends that he should be permitted to file a second amended complaint because

he has purportedly “discovered additional information” since he filed his first Amended

Complaint in December 2015 and because Relator has recently entered into settlement

agreements with two Defendants. Relator’s argument rings hollow, as he provides no reason for

why the foregoing justifies amendment. Indeed, Relator fails to provide even the basic facts

necessary to support his Motion, such as what the “additional information” is, when he

discovered it, and why he did not seek leave to amend sooner. This, in itself, warrants denial of

Relator’s Motion.

       Even if Relator had provided the foregoing basic information, his Motion would not be

meritorious. The new allegations in the proposed Second Amended Complaint (“Proposed

SAC”) that have dates associated with them pertain to publications and events of public record

that occurred in 2017 or earlier, with only one exception. Indeed, most of them occurred in 2015

or earlier. As explained below, Relator knew, or should have known, about these publications

and events years ago, and he has no explanation for his delay in seeking to add them to the

operative pleading in this case. Accordingly, Relator’s Motion should also be denied on the basis

of undue delay.

                       RELEVANT PROCEDURAL BACKGROUND

       This case has been pending for nearly seven years. Relator/Plaintiff Gerald Polukoff

(“Relator”) filed his original Complaint under seal on December 6, 2012. See Dkt. 1. The

Complaint was unsealed on June 19, 2015 after the federal government declined to intervene,

                                                 2
        Case 2:16-cv-00304-TS-EJF Document 273 Filed 06/14/19 Page 3 of 8




and Relator filed an Amended Complaint on December 3, 2015. See Dkt. 35, 36, 90. On January

19, 2017, the Court granted Defendants’ Motion to Dismiss Relator’s Complaint. See Dkt. 205.

Relator appealed, and the Tenth Circuit Court of Appeals reversed and remanded on July 9,

2018. See Dkt. 218. The Tenth Circuit issued its mandate on November 6, 2018, and the case

was reopened in this Court the next day. See id.

        The Sorensen Defendants filed an Answer and Counterclaim on January 25, 2019. See

Dkt. 248. The other Defendants in this action filed their answers on that same day. See Dkt. 246,

249. Over four months later, on June 3, 2019, Relator filed the present Motion and Proposed

SAC. See Dkt. 270. The Proposed SAC pleads the same causes of action as the Amended

Complaint, but it adds certain factual allegations, as discussed herein. See Dkt. 270-2.

                                           ARGUMENT

   I.      STANDARD OF REVIEW

        Pursuant to Fed. R. Civ. P. 15(a), a party may amend its pleading once as a matter of

course, subject to certain time limitations. If a party has already amended its pleading, or if the

time limits of Rule 15 have expired, the party may only amend its pleading by stipulation or with

leave of court. Fed. R. Civ. P. 15(a)(2). Courts should permit amendment when the moving party

establishes that “justice so requires.” See Zabriskie v. ReconTrust Co., 2008 WL 11393085, at *8

(D. Utah Nov. 12, 2008). If the moving party fails to do so, its motion must be denied. See id.

Courts should also deny leave to amend when there has been a showing of “undue delay, undue

prejudice to the opposing party, bad faith or dilatory motive, failure to cure deficiencies by

amendments previously allowed, or futility of amendment.” Duncan v. Manager, Dep't of Safety,

City & Cty. of Denver, 397 F.3d 1300, 1315 (10th Cir. 2005).


                                                   3
          Case 2:16-cv-00304-TS-EJF Document 273 Filed 06/14/19 Page 4 of 8




          Undue delay occurs when the moving party knew about the facts on which the proposed

amendment is based “for some time” prior to filing the motion to amend, and it has “no adequate

explanation” for the delay. Minter v. Prime Equip. Co., 451 F.3d 1196, 1206 (10th Cir. 2006). 1

See also Parker v. Champion, 148 F.3d 1219, 1222 (10th Cir. 1998) (“Where a party seeking

amendment knows or should have known of the facts upon which the proposed amendment is

based but fails to include them in the original complaint, the motion to amend is subject to

denial.”)

          In the Tenth Circuit, undue delay “alone is an adequate reason to refuse leave to amend.”

Duncan, 397 F.3d at 1315; Hedger, 726 F. App'x at 683. See also Donnell v. Taylor, 2010 WL

3200239, at *3 (D. Utah Aug. 12, 2010) (“Undue delay alone can justify a court’s denial”)

(citing Minter, 451 F.3d 1196, 1206 (10th Cir. 2006)). Thus, a court does not need to find

prejudice, bad faith, a dilatory motive, or futility in conjunction with undue delay in order to

deny a motion to amend. See Minter, 451 F.3d at 1205–06.

    II.      REALTOR’S MOTION SHOULD BE DENIED BECAUSE HE FAILED TO
             MEET HIS BURDEN AND HAS NO EXPLANATION FOR HIS UNDUE
             DELAY

          Relator argues that he should be granted leave to amend because he has purportedly

“discovered additional information relating to the non-settling defendants [sic] conduct.” See

Relator’s Mot. at 5. However, Relator provides no explanation or details about this “additional

information” or the timing or circumstances of its discovery. Relator does not identify what the


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        The proposition in Minter that denial of a motion to amend is warranted if the moving
party has “no adequate explanation” for its delay is well established in the Tenth Circuit. See
Hedger v. Kramer, 726 F. App'x 677, 683 (10th Cir. 2018) (unpublished); Griffeth v. United
States, 2014 WL 3386038, at *4 (D. Utah July 9, 2014), aff'd, 672 F. App'x 806 (10th Cir. 2016);
Zisumbo v. Ogden Regional Med. Ctr., 801 F.3d 1185, 1195 (10th Cir. 2015).
                                                  4
       Case 2:16-cv-00304-TS-EJF Document 273 Filed 06/14/19 Page 5 of 8




“additional information” is. Nor does he specify when he discovered it, other than stating that he

discovered it at some point “since the only prior amendment in 2015.” Relator also does not

explain why he waited until June 3, 2019 to seek leave to amend. These glaring deficiencies in

themselves warrant denial of Relator’s Motion because Relator had the “burden of demonstrating

that justice requires that [he] be granted leave to amend [his] complaint,” and he utterly failed to

do so. Zabriskie, 2008 WL 11393085, at *8.

       Relator’s silence is telling, as is the fact that the new allegations in the Proposed SAC

that are identified by date pertain to publicly available articles, guidelines, and other publications

released by Dr. Sorensen or various organizations such as the American Heart Association, as

well as actions taken by the FDA, in 2017 and earlier. 2 See Proposed SAC ¶¶ 89-100, 122.

Indeed, most of these publications and actions were released or occurred between 1999 and

2015, 3 yet Relator failed to include them in the Amended Complaint he filed on December 3,



2
        More specifically, the Proposed SAC contains a list of guidelines, articles, bulletins,
policies, and other publications (collectively, “publications”) released by the American Heart
Association, the American Academy of Neurology, other public health organizations, insurance
companies, PFO/ASD device manufacturers, and Dr. Sorensen between 1999 and 2017, as well
as a single publication released in 2018. See Proposed SAC ¶¶ 89-93, 98, 122. The Proposed
SAC also attaches many of these publications as exhibits. Additionally, the Proposed SAC
alleges that the FDA took certain actions with respect to certain PFO/ASD closure devices and
made certain recommendations about PFO/ASD closures between 1999 and 2016. See id. ¶¶ 94-
97. Lastly, the Proposed SAC also alleges, among other things, that Dr. Sorensen made certain
misrepresentations to patients. See ¶¶ 123-125 However, there are no dates associated with these
allegations, and, like with the other new allegations, Relator did not specify when he discovered
these purported misrepresentations, nor did he explain why they are relevant to this qui tam
action or why he is only now seeking to add them to the Amended Complaint.
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       At least 22 of the publications and actions referenced in paragraphs 89-100 and 122 of
the Proposed SAC were released or occurred in 2015 or earlier. Only 10 were released or
occurred after 2015.


                                                  5
          Case 2:16-cv-00304-TS-EJF Document 273 Filed 06/14/19 Page 6 of 8




2015. Relator could not credibly argue, nor does he, that he did not know, or that he had no

reason to know, about these public documents and actions when he filed his Amended

Complaint. Similarly, Relator could not credibly argue that he only recently found out about the

publications that were released, or the public actions that were taken, in 2016 and 2017.

          As discussed above, Relator provides no explanation for why he has delayed seeking to

amend the Amended Complaint to include the foregoing allegations. Because Relator has no

explanation, let alone an “adequate” one, for his delay, his Motion should be denied.

   III.      THE FACT THAT RELATOR HAS REACHED A SETTLEMENT
             AGREEMENT WITH TWO DEFENDANTS DOES NOT WARRANT
             GRANTING LEAVE TO AMEND

          In addition to Realtor’s unsupported argument about his discovery of “additional

information,” Relator argues that he should be granted leave to amend because he has entered

into a settlement agreement with two Defendants, Intermountain Healthcare, Inc. and

Intermountain Medical Center (“Intermountain Defendants”). This does not justify permitting

Relator to file a SAC that adds numerous allegations against the remaining Defendants that

Relator knew about, or should have known about, years ago. The Intermountain Defendants can

be voluntarily dismissed from this action via a stipulation or court order pursuant to Fed. R. Civ.

P. 41. The pleadings need not be amended.

          Relator also notes that Defendant HCA, Inc. was previously dismissed from this litigation

by the United States District Court for the Middle District of Tennessee. This occurred on April

13, 2016, and it is unclear how it has any relevance to Relator’s Motion. The proposed SAC

contains the same allegations against HCA, Inc. as the Amended Complaint. Indeed, these




                                                  6
       Case 2:16-cv-00304-TS-EJF Document 273 Filed 06/14/19 Page 7 of 8




allegations span five pages and have their own section heading, “Background on HCA.” Thus,

the fact that HCA was dismissed from this action is immaterial.

       Permitting Relator to file a SAC would not move the ball down the court or advance the

“just, speedy, and inexpensive determination” of this litigation. Fed. R. Civ. P. 1. The proposed

SAC adds no new causes of action, so it appears that Relator is attempting to bolster his existing

causes of action. However, this case has already been pending for almost seven years, and

Defendants’ motions to dismiss have already been litigated in this Court and on appeal. Thus,

Defendants are seeking leave to amend for no apparent purpose. Granting leave to amend would

therefore accomplish little, if anything, other than delaying the ultimate resolution of this case by

needlessly restarting the pleading process.

                                         CONCLUSION

       Relator should not be permitted to file a second amended complaint because: (1) Relator

failed to meet his burden of establishing that justice requires allowing his amendment; (2)

Relator has engaged in undue delay; and (3) permitting amendment would needlessly delay

resolution of this case. The Sorensen Defendants therefore respectfully request that the Court

denies Relator’s Motion for Leave to Amend.



DATED: June 14, 2019
                                                      STIRBA, P.C.

                                                      /s/ Matthew Strout
                                                      PETER STIRBA
                                                      MATTHEW STROUT
                                                      Attorneys for Defendants Sherman
                                                      Sorensen, M.D., and Sorensen
                                                      Cardiovascular Group


                                                  7
       Case 2:16-cv-00304-TS-EJF Document 273 Filed 06/14/19 Page 8 of 8




                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 14, 2019, I electronically filed the foregoing

DEFENDANTS SHERMAN SORENSEN AND SORENSEN CARDIOVASCULAR

GROUP’S OPPOSITION TO RELATOR/PLAINTIFF’S MOTION FOR LEAVE TO

AMEND RELATOR/PLAINTIFF’S COMPLAINT with the Clerk of the Court using the

CM/ECF system, which will send notification of such filing to the CM/ECF participants

registered to receive service.


                                                             /s/ Matthew Strout
                                                             Matthew Strout




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